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       Case 1:18-cv-04252-LLS Document 235 Filed 11/15/21   Page 1 of 2
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 UNITED STATES DISTRICT COURT                      DQC #:_...., ,........,.____...,...._
 SOUTHERN DISTRICT OF NEW YORK                   . DATE FfL~D: \ l \
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 INNOVATUS CAPITAL PARTNERS , LLC ,

                                         Plaintiff ,                     18 Civ . 4252        (LLS)

                 - against -

 JONATHAN NEUMAN , ANTONY MITCHELL ,
 RITZ ADVISORS , LLC , GREG WILLIAMS ,                                               ORDER

  DARYL CLARK and AMANDA ZACHMAN ,

                                         Defendants.
 -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   X
 MV REALTY , PBC , LLC ,
                                                                          18 Civ . 7142       (LLS)
                                         Plaintiff,

                 - against -

  INNOVATUS CAPITAL PARTNERS , LLC ,

                         Defendant .
         - - - - - - - - - - - - - - - X

             Innovatus writes to supplement MV Realty ' s October 25 , 2021

  letter motion to seal (Dkt . No . 219) portions of MV 's response

  (Dkt . No . 220) to Innovatus ' s October 11, 2021 letter (Dkt. No .

  207) . See Dkt . No . 227 .

             Considering Innovatus ' s supplemental letter , the Court

  grants MV ' s letter motion to seal . The letter response (Dkt . No .

  220) may be filed with the proposed redactions , and Exhibit 4

 may be filed wholly under seal. The Court previously agreed that

  the information contained in Exhibit 4 discloses " business

  thought processes and reveals, to some degree , the roadmap

  Innovatus has used and continues to use in its RTL business ",
          Case 1:18-cv-04252-LLS Document 235 Filed 11/15/21 Page 2 of 2



and therefore , it may remain sealed at this stage , as long as it

is understood that the temporarily protected information may

ultimately need to be revealed at trial.

     MV also writes in response to Innovatus ' s November 5 , 2021

letter motion to seal        (0kt . No . 229 ) , stating that it does not

seek to seal the information redacted by Innovatus in its

November 5 , 2021 letter motion        (0kt . No . 228) , with the

exception of Exhibit F , which MV describes as a patent license

agreement with a third party that includes "a confidentiality

provision and identifies terms on which the third party was

willing to grant the license to MV" . See 0kt . No . 231 .

     While the attached agreement does include a section

prohibiting the disclosure of " confidential information"             (as

defined in the agreement in Section 9) , that provision does not

render the agreement itself , or any terms contained therein ,

confidential . Therefore , the Court does not find justification

for sealing Exhibit F and Innovatus ' s letter motion to seal

(0kt . No . 229) ,    as supplemented by MV ' s letter    (0kt. No.   231) ,

is denied.

      So Ordered .

Dated :       New York , New York
              November 15 , 2021


                                                 LOUIS L . STANTON
                                                     U. S.D . J .




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